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20-3855-cv
  United States Court of Appeals
                          for the

                 Second Circuit

          DEBBIE ANN BROMFIELD-THOMPSON,

                                                    Plaintiff-Appellant,

                           – v. –

          AMERICAN UNIVERSITY OF ANTIGUA,
          MANIPAL EDUCATION AMERICAS, LLC,

                                                Defendants-Appellees,

AMERICAN UNIVERSITY OF ANTIGUA/MANIPAL EDUCATION
       AMERICAS, LLC, AKA GCLR, LLC, NBME,

                                                           Defendants.
              ––––––––––––––––––––––––––––––
    ON APPEAL FROM THE UNITED STATES DISTRICT COURT
         FOR THE SOUTHERN DISTRICT OF NEW YORK


       BRIEF FOR DEFENDANTS-APPELLEES

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                 CORPORATE DISCLOSURE STATEMENT

            As set forth in the Federal Rules of Civil Procedure, Rule 7.1 corporate

disclosures in the proceedings below (District Court docket, ECF 25 & 26,

Supplemental Appendix 1, 2), American University of Antigua is a wholly-owned

subsidiary of Manipal Education Americas, LLC. Manipal Education Americas,

LLC is a wholly-owned subsidiary of Manipal Academic Services International,

which in turn is a wholly-owned subsidiary of MEMG International, Ltd. MEMG

International, Ltd. has no parent corporation. No publicly held corporation holds

10% or more of the stock of any of the foregoing entities.
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             American University of Antigua (“AUA”) and Manipal Education

Americas, LLC (“MEA,” together the “Appellees”), respectfully submit this brief in

opposition to Appellant’s appeal.

                         PRELIMINARY STATEMENT

             This appeal is the latest attempt by Appellant, a former AUA student,

to hold AUA, a foreign medical school, and MEA, a New York entity with no

substantive connection to this case, responsible for disability discrimination that did

not happen. Appellant, despite multiple opportunities, has failed to meet threshold

requirements for sustaining this action: she has twice failed to effect proper service

on AUA despite clear notice of the defect, and has utterly failed to allege any

wrongdoing against MEA. This appeal is no different.             Appellant’s belated

arguments, raised for the first time on appeal, are waived, and in any event, entirely

without merit.

             This case arises from Appellant’s failure to pass the Comprehensive

Clinical Shelf Exam (“CCSE”), a graduation requirement for all AUA medical

students. The CCSE is created and administered by the National Board of Medical

Examiners (“NBME”). It is designed to be taken in one sitting, without breaks.

AUA has no control over the design of the exam. Between 2014 and 2016, AUA

allowed Appellant to take the CCSE five times. Despite AUA providing Appellant

the progressively-increasing accommodations that she requested—including more
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than double the time normally allocated for the exam, and the freedom to take breaks

as she saw fit—Appellant did not pass. Ultimately, in July 2016, AUA dismissed

Appellant for failure to satisfy her graduation requirements. Appellant filed a

complaint against AUA with the U.S. Department of Education, Office of Civil

Rights (“OCR”), for disability discrimination and retaliation. OCR, after a thorough

investigation that included interviewing Appellant and reviewing documentation

provided by both Appellant and AUA, ruled that Appellant had failed to substantiate

her claims.

              Appellant then commenced this action. Appellant served process on

MEA at its New York office, but failed to serve AUA, which has no office or

designated agent to accept service of process in New York. On December 9, 2019,

Appellees moved to dismiss the complaint (“Complaint”) on multiple grounds,

including inter alia, that Appellant had failed to serve AUA. In the face of AUA’s

and MEA’s sworn declarations and verifiable, publicly available government

records showing that Appellant’s service was defective, Appellant did nothing to

remedy it. Instead, on January 14, 2020, Appellant filed the First Amended

Complaint (“FAC”). AUA then moved to dismiss the FAC, repeating its insufficient

service arguments. Appellant still did nothing to cure service, insisting that her

service was proper. As the District Court properly held, it was not. The court

observed that Appellant was “on notice of the defect in service on AUA since at least



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December 9, 2019 … but she has taken no steps to correct it.” Thus, while giving

Appellant the “special solicitude” due to a pro se plaintiff, the District Court was

well within its broad discretion to dismiss the FAC, without prejudice, for

Appellant’s consistent failure to serve AUA.

             The District Court also properly dismissed the FAC with prejudice as

to MEA for failure to state a claim. Despite two bites at the apple—the Complaint

and the FAC—the District Court providing Appellant sua sponte leave to amend her

Complaint, and Appellee’s motion to dismiss the Complaint on these very grounds,

the FAC failed to allege any wrongdoing by MEA. Accordingly, the District Court

properly dismissed the FAC with prejudice as to MEA.

             On appeal, Appellant has not identified a single erroneous factual

finding, or any specific instance in which the District Court applied a wrong legal

standard or a correct legal standard incorrectly. Rather, Appellant has thrown at the

Court’s wall a slew of arguments, which are too late and too little. Appellant could

have raised each of these arguments below, but did not. Even if the Court were to

address these waived arguments, which it should not, they must fail. Each of these

arguments is insufficient as a matter of law or entirely unsupported by the

record. Appellant’s newly-minted arguments underscore only that Appellant is now

grasping at straws, and that the District Court properly dismissed Appellant’s

claims.



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               Accordingly, the Court should affirm the District Court’s dismissal of

Appellant’s claims against AUA and MEA. The Court may also affirm this

dismissal on alternate grounds supported by the record and presented below.

                         JURISDICTIONAL STATEMENT

               This is an appeal from a final order of the United States District Court

for the Southern District of New York. The District Court had jurisdiction pursuant

to 28 U.S.C. §§ 1331 and 1367. This Court has jurisdiction pursuant to 28 U.S.C. §

1291.

           COUNTER-STATEMENT OF THE ISSUES PRESENTED

   1. Whether the District Court was within its broad discretion to dismiss, under

        Rule 12(b)(5), the FAC as to AUA for Appellant’s failure to properly serve

        process, where Appellant served process at MEA’s office, on an MEA

        employee, who was not authorized to accept service for AUA.

   2. Whether Appellant waived the argument that the District Court abused its

        discretion by dismissing the FAC as to AUA without giving Appellant

        additional time to cure service, where Appellant never asked the court for such

        relief. Whether, if the Court addresses this waived argument, it lacks merit,

        where Appellant was on clear notice of the potential defect and did nothing,

        and has not given any colorable excuse for failing to effect proper service on

        AUA.



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3. Whether Appellant waived the argument that MEA had “actual” or “apparent”

   authority to accept process for AUA by failing to sufficiently preserve it

   below. Whether, if the Court addresses this waived argument, it lacks merit,

   where (a) the record shows AUA did not grant MEA actual authority to accept

   service of process, and (b) Appellant has not made a prima facie showing that

   the process server reasonably relied on any representation by AUA in serving

   Ms. O’Brien, an MEA employee, at MEA’s office, for AUA.

4. Whether the Court may affirm the District Court’s dismissal of the FAC as to

   AUA on additional and alternate grounds that (a) the District Court lacked

   personal jurisdiction over AUA; (b) this case should be dismissed on forum

   non conveniens grounds in favor of Antigua; and (c) with regard to the claim

   under the Americans with Disabilities Act (“ADA”), the CCSE is not subject

   to the ADA.

5. Whether the District Court correctly dismissed with prejudice the FAC as to

   MEA, under Rule 12(b)(6), for failure to state a claim where Appellant,

   despite two bites at the apple and MEA’s motion to dismiss the original

   complaint on this very ground, did not allege any wrongdoing by MEA.

6. Whether Appellant, by failing to raise them below, has waived the arguments

   that the District Court should not have dismissed the FAC as to MEA because

   there might be a joint venture between AUA and MEA or because MEA is an



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      independent contractor.    Whether, if the Court addresses these waived

      arguments, they lack merit where (a) there is no allegation or evidence of a

      profit-loss sharing agreement between AUA and MEA to support a finding of

      a joint venture; and (b) Appellant still fails to make any non-conclusory and

      non-speculative allegation of misconduct by MEA.

   7. Whether, as additional and alternate grounds to affirm the District Court’s

      dismissal of the FAC as to MEA, MEA is not subject to the Rehabilitation

      Act, nor, for purposes of Appellant’s claims, the ADA.

   8. Whether the District Court was within its discretion in declining sua sponte

      leave to amend the FAC where Appellant never asked for leave and granting

      leave would have been futile.

                  COUNTER-STATEMENT OF THE CASE

      A.     The Parties

             AUA is a medical school located and operated in Antigua. (Appellant’s

Appendix (“App-”) 37–58 (FAC) ¶¶ 1, 12.)1 It is chartered and incorporated under

the laws of Antigua and Barbuda.         (Supplemental Appendix (“SA-”) 147

(Declaration of Vernon Solomon, AUA’s Vice President for Administration and

Community Affairs (“Solomon Decl.”)) ¶ 3.) It has no office in New York. (Id. ¶¶




1. Appellees presume the allegations in the FAC to be true for purposes of the
   motion to dismiss only.

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3-4.) It also is not registered to do business, and does not have an agent designated

to accept service of process, in New York. (SA-62 & 152 (screenshots from the

New York Department of State (“NYDOS”) website).) AUA contracts with service-

providers in the United States to provide it various services. (SA-147–48 (Solomon

Decl.) ¶ 5.)

               MEA is a separate New York company that provides back office and

administrative services to international institutions of higher education, including

AUA. (Id.) MEA does not make substantive, academic decisions regarding AUA’s

students, and the FAC does not allege otherwise. (Id.) Rather, MEA handles

administrative matters for AUA, e.g., coordinating and managing the paperwork for

AUA students’ clerkships at U.S. hospitals. (Id.; see also App-74–82 (AUA-MEA

Services Agreement (“Services Agreement”).)

      B.       Appellant Is Unable to Pass the CCSE

               Students attending AUA complete their first two years in Antigua and

thereafter participate in clinical rotations in U.S. hospitals. (FAC ¶ 12.) In 2010,

Appellant joined AUA as a fifth-semester transfer student. (Id. ¶¶ 11, 37.) Appellant

was a resident of Washington, D.C., as she continued to be for her entire tenure at

AUA. (Id. ¶ 11.) In 2010, before taking her first shelf exam (taken at the end of a

rotation), Appellant requested an accommodation based on dyslexia. (Id. ¶¶ 1, 38.)

As Appellant admits, AUA had no personnel in the United States who handle



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accommodation requests. (See id. ¶ 38; Appellant’s Brief (“App. Br.”) at 13.)

Rather, all decisions regarding whether and what accommodations to provide

students are made by AUA’s clinical psychologist in Antigua, Dr. James Rice. (SA-

148 (Solomon Decl.) ¶ 7.) Accordingly, AUA directed Appellant to Dr. Rice, who

granted Appellant an accommodation of time-and-a-half. (FAC ¶ 38.) AUA

provided Appellant the same accommodation for other exams, which she passed.

(Id. ¶ 44.)

                In 2014, Appellant took the CCSE three times, in Virginia, with the

same time-and-a-half accommodation. Appellant failed to get the minimum passing

score each time. (Id. ¶¶ 30, 50.) Before taking the CCSE for a fourth time, Appellant

wrote to Dr. Rice in Antigua for an accommodation of double time, which he

granted. (Id. ¶¶ 52-53.) On November 25, 2015, Appellant took the CCSE, again

in Virginia, and again failed. (Id. ¶¶ 30, 53, 54.)

                Appellant then asked AUA whether AUA would be willing to find a

testing site where Appellant could take the exam over a 2-day period. (See id. ¶ 55.)

Dr. Juli Valtschanoff, AUA’s Chief Proctor in Antigua, conducted the search, but to

no avail. (Id. ¶ 57.) AUA then granted Appellant an accommodation of more than

two times, so that in addition to having double the time for the exam, Appellant also

could have at least two more hours to take breaks. (See id. ¶¶ 53, 59-61.) AUA also

extended the deadline for Appellant to complete her graduation requirements from



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March 31, 2016 to July 31, 2016. (Id. ¶ 58.) On July 1, 2016, Appellant took the

CCSE for a fifth time, again in Virginia, and again failed. (Id. ¶¶ 60-61, 64.)

             In July 2016, AUA dismissed Appellant from the M.D. program for

failure to complete her graduation requirements by the July 2016 deadline. (Id. ¶

65; App-60.) This decision was made by AUA’s Promotions Committee, which

makes all academic decisions regarding AUA students, and, like other academic

functions of the university, is based in Antigua. (SA-149 (Solomon Decl.) ¶¶ 11-12;

SA-91 (FAC Ex. 16); FAC ¶ 65).) Appellant appealed her dismissal to AUA’s

Appeals Committee, also based in Antigua, which upheld the dismissal. (FAC ¶ 67;

SA-149 (Solomon Decl.) ¶¶ 11-12.)

      C.     The Proceedings Below: Appellant Fails to Serve AUA

             Appellant filed the Complaint, naming AUA, MEA and the NBME

(which Appellant has dropped from the appeal). Appellant asserted various claims

against AUA and MEA, alleging that AUA failed to provide Appellant “reasonable

accommodations” for the CCSE and that her dismissal from AUA was improper.

Relevant to this appeal are Appellant’s claims under the Rehabilitation Act and ADA

for alleged disability discrimination. (See infra, 12-13.)

             On December 9, 2019, Appellees moved to dismiss the Complaint on

various grounds, including failure to serve AUA. (SA-5–47, “First MTD.”) AUA

submitted sworn declarations from Mr. Solomon and the General Counsel of MEA



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that AUA has no offices in New York, nor a designated agent in New York to accept

service of process for AUA, and that Ms. O’Brien, with whom the process server

left the papers for MEA and AUA, is an MEA-administrative assistant, and is not

authorized to accept service for AUA. (SA-28; SA-48–49 ¶¶ 4, 6; SA-50–51 ¶¶ 3-

4.) AUA also directed Appellant to the NYDOS website, which shows that AUA

has no registered office or agents to accept service of process in this state. (SA-28;

SA-62.) Thus, AUA clearly put Appellant on notice that she had not effected service

on AUA. Appellant did nothing to cure service.

             On January 14, 2020, Appellant filed the FAC. On February 4, 2020,

Appellants moved to dismiss the FAC on almost identical grounds. (SA-98–145,

“Second MTD.”) As before, AUA moved to dismiss the FAC for failure to serve,

and submitted similar sworn declarations and evidence, including this time a

declaration from Ms. O’Brien that she is not authorized to accept service for AUA,

and she never represented otherwise to the process server, who did not ask her. (SA-

131–32; SA-146, SA-147–49, SA-152.)

             Appellant again did nothing to cure service. Instead, in her March 5,

2020 Opposition to the Second MTD, Appellant insisted she had correctly served

AUA when her server left the process papers with Ms. O’Brien. (SA-187–89.)

Appellant did not ask for leave to correct service.




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      D.     The District Court’s Decision

             On October 13, 2020, the District Court (the Honorable Jesse M.

Furman) issued an Opinion and Order granting Appellees’ motion to dismiss the

FAC. (App-16–29 (the “Opinion”)). Judge Furman noted that even granting

Appellant the “special solicitude” entitled to a pro se plaintiff, the FAC must be

dismissed. (App-16.)

             Judge Furman granted AUA’s motion to dismiss without prejudice,

based on Appellant’s failure to serve AUA. Judge Furman reasoned that, first,

despite Appellant’s conclusory statements that AUA has a New York office, AUA

provided sworn statements that that was not true, and Appellant’s only “evidence”—

a photograph allegedly taken by the process server from outside MEA’s New York

office, which showed the logo, “Manipal Education Americas, LLC AGENT FOR:

AUA” (SA-199)—in fact “support[ed] the conclusion that the location was MEA’s

office, not AUA’s.” (App-21–22.) Second, as the declarations of AUA and Ms.

O’Brien show, she was not an AUA employee, nor authorized to accept service for

AUA. Moreover, as evidenced by the declarations of Ms. O’Brien and Appellant’s

process server, Ms. O’Brien did not make any representation to the contrary, nor did

Appellant’s process server inquire into her authority to accept process for AUA.

(App-22–23 (citing supporting authority).) Finally, while acknowledging that the

statute of limitations might preclude Appellant from bringing new claims against



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AUA, Judge Furman concluded that it was appropriate to grant AUA’s motion to

dismiss for failure to serve because “[Appellant] had been on notice of the defect in

service on AUA since at least December 9, 2019 when AUA and MEA filed their

motion to dismiss the original complaint, but she has taken no steps to correct it.”

(App-23 & n.5.)

             Judge Furman granted MEA’s motion to dismiss the FAC for

Appellant’s failure to state a claim against MEA because the FAC “is devoid of any

allegations that MEA [rather than AUA] engaged in wrongdoing.” (App-27.) He

noted that the FAC’s allegations regarding MEA are mostly jurisdictional, and the

remaining allegations assert that AUA, not MEA, was responsible for the actions

giving rise to Appellant’s claims. (App-27–28.)

             Judge Furman did not consider Appellee’s additional arguments for

dismissal. He also declined sua sponte to grant Appellant leave to further amend her

complaint because he had already given Appellant one opportunity to amend, she

had not sought leave to amend again, “nor suggest[ed] that she possesses any

additional facts that could cure the defects” in the FAC. (App-28–29.)

      E.     Scope of the Appeal

             The Appellant’s brief notes that, in addition to the Rehabilitation Act

and ADA claims, the FAC alleged other state tort, contract and disability

discrimination claims, “which were dismissed and [are] not germane to this appeal.”



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(App. Br. at 10, see also id. at 6, 7.) Since Appellant is not challenging the dismissal

of these claims on appeal, Appellees also have not addressed them and the Court

should treat them as abandoned for purposes of this appeal. See Taylor v. Rodriguez,

238 F.3d 188, 196-97 (2d Cir. 2001) (claims as to which the pro se appellant did not

include arguments in his appeal brief were abandoned for purposes of the appeal);

accord Divers v. Metro. Jewish Health Sys., 383 F. App’x 34, 35 n.2 (2d Cir. 2010)

(summary order).

                       SUMMARY OF THE ARGUMENT

             AUA. This Court should affirm the District Court’s dismissal without

prejudice of Appellant’s claims against AUA for the following reasons:

             First, the District Court did not abuse its discretion in holding that

Appellant had failed to effect service on AUA where the evidence shows that AUA

has no office or designated agent to accept process in New York, that Ms. O’Brien

was not authorized to accept service for AUA, and the process server made no

inquiry to determine otherwise.

             Second, Appellant raises on appeal two waived and meritless

arguments. One, Appellant argues that the District Court abused its discretion by

dismissing the FAC as to AUA without giving Appellant time to cure service. But,

Appellant never sought the District Court’s leave to cure service, and, therefore, has

waived this argument. Even if the Court were to reach the merits of this argument,



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Appellant, regardless of her pro se status, has not provided a “colorable excuse” for

failing to serve AUA. Two, Appellant argues that MEA had “actual” and “apparent”

authority to accept service for AUA. Appellant failed to preserve this argument

below—there is no mention whatsoever of “actual” or “apparent” authority in the

FAC or Appellant’s briefing below. Even if the Court were to address Appellant’s

belated arguments, these arguments lack merit because they are based on

misapplication of the law and entirely unsupported by the record.

             Third, the Court also can affirm dismissal of the FAC as to AUA on

three alternate grounds supported by the record. See Cox v. Onondaga Cnty.

Sheriff’s Dep’t, 760 F.3d 139, 145 (2d Cir. 2014) (citing McElwee v. Cnty. of

Orange, 700 F.3d 635, 640 (2d Cir. 2012)) (this Court may affirm the district court’s

decision on any ground supported by the record, even if the district court did not rely

on that ground). First, the District Court lacked personal jurisdiction over AUA,

which is incorporated and headquartered in Antigua, and none of Appellant’s claims

arise from or have a substantial connection with any alleged conduct in New York.

Second, this case, which involves conduct and decisions made entirely in Antigua

by an Antiguan school regarding a Washington, D.C.-based former student, should

be dismissed on forum non conveniens grounds in favor of Antigua. Third, the

CCSE is not the type of exam covered by the ADA.




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             MEA. This Court should affirm the District Court’s dismissal with

prejudice of Appellant’s claims against MEA for the following reasons:

             First, the District Court properly held that Appellant failed to state a

disability discrimination (or any other) claim as to MEA because the FAC does not

contain a single allegation of wrongdoing by MEA giving rise to those claims.

             Second, Appellant’s new arguments on appeal—that AUA and MEA

might have been a joint venture with regard to the medical school or that MEA is an

independent contractor—were not preserved for appeal and should not be addressed

by the Court. Even if the Court were to address these belated and speculative

arguments, they are utterly lacking in merit—the record clearly shows there was no

joint venture between AUA and MEA, and MEA’s status as an independent

contractor is unrelated to its alleged liability here; if anything, it highlights that MEA

is not responsible for any of Appellant’s allegations of wrongdoing against AUA.

Appellant’s baseless arguments also highlight that the District Court correctly

dismissed the FAC without further leave to amend.

             Third, the Court also can affirm the dismissal as to MEA on the

alternate ground that, with respect to the CCSE, which is the subject of this litigation,

MEA is not subject to the Rehabilitation Act or the ADA.

             Finally, although not clearly identified by Appellant as an issue on

appeal, it appears that Appellant is also challenging, in the context of the claims



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against MEA, the District Court’s decision sua sponte to decline leave to amend.

The District Court did not abuse its discretion in doing so because Appellant never

requested leave to amend. Moreover, the District Court correctly determined that

granting leave to amend would be futile where Appellant abjectly failed to cure the

FAC’s deficiencies, even after Appellees put her on notice of those very

deficiencies, and there was no indication that Appellant possessed any curative facts

so as to survive a motion to dismiss.

                                    ARGUMENT

I.    THE DISTRICT COURT PROPERLY DISMISSED APPELLANT’S
      CLAIMS AGAINST AUA FOR FAILURE TO SERVE

      A.      Standard of Review

              This Court reviews a district court’s dismissal under Rule 12(b)(5) for

insufficient service of process for abuse of discretion. Dickerson v. Napolitano, 604

F.3d 732, 740 (2d Cir. 2010). A district court abuses its discretion only if it has “(1)

based its ruling on an erroneous view of the law, (2) made a clearly erroneous

assessment of the evidence, or (3) rendered a decision that cannot be located within

the range of permissible decisions.” Gerena v. Korb, 617 F.3d 197, 201 (2d Cir.

2010). Once a defendant challenges the sufficiency of service of process, it is the

plaintiff’s burden to show the adequacy of service. See Howard v. Klynveld Peat

Marwick Goerdeler, 977 F. Supp. 654, 658 (S.D.N.Y. 1997), aff’d, 173 F.3d 844 (2d

Cir. 1999).


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      B.     Appellant Has Not Identified Any Specific Error in the District
             Court’s Findings.

             Appellant argued below that her service on AUA was proper because

she served process at AUA’s office at One Battery Park Plaza in New York and Ms.

O’Brien never disclaimed authority to accept service for AUA. (SA-187–89.)

Within this context, Appellant also made the conclusory assertion, that “[a]s the

agent of AUA, MEA was authorized to accept service on its behalf, especially where

as here, both entities held themselves out as principal-agent.” (Id. at SA-188–89.)

Appellant provided no legal support for this argument, nor any elaboration.

             The District Court properly relied on sworn declarations and other

record evidence to find that the One Battery Park office was MEA’s office, not

AUA’s; Ms. O’Brien was not an employee authorized to accept service for AUA;

and the process server did not do due diligence to determine whether that was the

case. (App-21–23.) The District Court also noted that “[t]he alleged relationship

between MEA and AUA does not obviate [Appellant]’s obligation to properly serve

AUA in its own right.” (App-22 n.4.) Appellant does not specifically dispute any

of these findings or conclusions (except contend incorrectly that her process server

was not required to inquire about Ms. O’Brien’s scope of authority). (App. Br. at

28-36.)

             Instead, for the first time on appeal, Appellant makes two arguments.

First, she argues that the District Court abused its discretion by dismissing the FAC


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without giving Appellant leave to “amend to the extent the court found the service

on AUA to be insufficient.” (App. Br. at 30.) (Appellant presumably means leave

to “cure” service since none of the excuses she presents (id. at 28-29) could be cured

by amending the FAC as opposed to curing service.) Second, she argues that MEA

had actual or apparent authority to accept service on behalf of AUA. The Court

should not consider these arguments because they were not properly preserved.

They also are meritless.

      C.     The District Court Did Not Abuse Its Discretion in Dismissing the
             FAC Without Sua Sponte Granting More Time to Cure Service.

                   1.      Appellant Waived the Time-to-Cure-Service
                           Argument

             “[I]t is a well-established general rule that an appellate court will not

consider an issue raised for the first time on appeal.” Greene v. United States, 13

F.3d 577, 586 (2d Cir. 1994). This Court exercises its discretion to reach the merits

of a waived argument only “where necessary to avoid a manifest injustice or where

the argument presents a question of law and there is no need for additional fact-

finding.” Allianz Ins. Co. v. Lerner, 416 F.3d 109, 114 (2d Cir. 2005) (omitting

internal citation and quotation marks); see also Harleysville Worcester Ins. Co. v.

Wesco Ins. Co., 752 F. App’x 90, 93 (2d Cir. 2019) (summary order) (“Our

discretion to decide purely legal issues should only be exercised where the proper

resolution is beyond any doubt.”) (citation and quotation marks omitted). However,



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“circumstances normally ‘do not militate in favor of an exercise of discretion’ …

where those arguments were ‘available to the [parties] below’ and they ‘proffer no

reason for their failure to raise the arguments below.’”             Bogle–Assegai v.

Connecticut, 470 F.3d 498, 504 (2d Cir. 2006) (quoting Allianz, 416 F.3d at 114).

             Notably, waiver rules apply to civil rights pro se litigants as well. This

is so even where, as here, application of the rules might result effectively in dismissal

with prejudice of some or all of plaintiff’s claims. See, e.g., Perez v. Mason Tenders

Dist. Council Tr. Funds, 742 F. App’x 584, 585 (2d Cir. 2018) (summary order)

(declining to consider newly-raised argument on appeal by pro se plaintiff, and

affirming dismissal with prejudice of disability discrimination claims); Zerilli-

Edelglass v. New York City Transit Auth., 333 F.3d 74, 79-80 (2d Cir. 2003) (same

for a pro se plaintiff bringing sex and disability discrimination claims). Thus, an

appellant cannot claim manifest injustice based simply on appellant’s pro se status

or the fact that appellant will not be able to refile her claims.

             Here, Appellant never sought leave or additional time to cure defective

service on AUA. Therefore, Appellant has waived that argument. Nor is this the

type of situation where the Court should exercise its discretion to reach the merits of

a newly-raised argument. First, there is no manifest injustice in holding Appellant

to the requirements of proper service where she had ample notice and time to correct

service, but declined to do so. Also, as discussed above, dismissal of claims with



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prejudice, even of a pro se plaintiff, in and of itself, does not constitute manifest

injustice. Second, Appellant could have raised this argument below, but did not; nor

has she provided a justifiable reason for failing to preserve this argument. It might

have been a closer call had Appellant at least asked the District Court, on a protective

basis, for leave to correct service on AUA if the court determined service was

defective. Appellant did not do that either. Appellant certainly knew how to seek

alternate relief when she so desired. (SA-183–84 (seeking jurisdictional discovery

in the event the District Court found no personal jurisdiction over AUA).) Third,

whether Appellant had a justifiable excuse for failing to serve AUA is not a “purely

legal question,” the “resolution of which is beyond any doubt.” See, e.g., Zubair v.

Entech Eng’g, P.C., 550 F. App’x 59, 60 (2d Cir. 2014) (summary order) (declining

to entertain new argument on appeal which was theoretically available to appellants

in the district court, and would require the court to make findings of fact).

                   2.     The District Court Did Not Abuse Its Discretion

             Even if the Court were to address Appellant’s new argument that the

District Court abused its discretion by declining to provide Appellant even more

time to cure service, that argument has no merit.

             The District Court was not required to give Appellant notice of

defective service before dismissing the FAC. Rule 4(m) requires such notice only

when a court sua sponte dismisses a complaint for failure to serve, not when



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dismissal is pursuant to defendant’s motion, as was the case here. See Cioce v. Cty.

of Westchester, 128 F. App’x 181, 183 (2d Cir. 2005) (summary order) (district court

not required to give pro se plaintiff notice of defective service where defendant’s

motion to dismiss notified plaintiff of the possibility of dismissal for invalid service).

             A district court must also give a plaintiff appropriate additional time to

effect proper service where plaintiff shows “good cause” for the failure to serve.

Fed. R. Civ. P. 4(m). In the absence of good cause, the district court has discretion

to extend the time for service, but is not required to do so. Zapata v. City of New

York, 502 F.3d 192, 197 (2d Cir. 2007). Before this Court “will even consider

vacating a Rule 4(m) dismissal for abuse of discretion, the plaintiff must ordinarily

advance some colorable excuse for neglect.” Id. at 198. This Court reviews the

district court’s determination of “good cause” and discretionary grant of extension

under the abuse of discretion standard. Id. at 199. Appellant misses, by leaps and

bounds, the standards for mandatory and discretionary grants of an extension of time

to cure service.

             First, Appellant has never argued, nor can she, that she had “good

cause” for failure to properly serve AUA. To show good cause, a “plaintiff must

demonstrate that despite diligent attempts, service could not be made due to

exceptional circumstances beyond his or her control.” See Spinale v. United States,

2005 WL 659150, at *3 (S.D.N.Y. Mar. 16, 2005), aff’d, 352 F. App’x 599 (2d Cir.



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2009) (summary order). Here, Appellant did nothing to correct service after she was

on notice since at least December 9, 2019 that AUA contested service, and choosing

not to do anything was entirely within her control. Appellant’s failure to request

leave or time to cure service, even on a protective basis, further militates against a

finding of good cause. See Bogle-Assegai, 470 F.3d at 508 (no good cause shown

where plaintiff never requested more time to effect service).

             Second, the District Court could not have abused its discretion in failing

to give Appellant leave to cure service because Appellant never requested that relief.

See, e.g., Gallop v. Cheney, 642 F.3d 364, 369 (2d Cir. 2011) (“no court can be said

to have erred in failing to grant a request that was not made”).

             Third, in deciding whether to grant AUA’s motion to dismiss for failure

to serve AUA, the District Court properly considered that Appellant had taken “no

steps” to correct service although she had been on notice of the defect since

Appellees’ First MTD. Thus, the District Court would have been well within its

discretion to dismiss the FAC without giving additional time to Appellant to cure

service, even if Appellant had asked for that time. See Frankenberger v. Firth

Rixson, Inc., 565 F. App’x 37, 38 (2d Cir. 2014) (summary order) (district court did

not abuse its discretion in dismissing complaint, where pro se plaintiff “had not been

diligent in his efforts to effect service in a timely manner”).




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             This is so, even considering, as the District Court did, that dismissal

might preclude Appellant from re-filing one or more of her claims against AUA

because of the statute of limitations. (App-23 & n.5.) Where good cause is lacking,

the Second Circuit will not disturb a district court’s dismissal resulting in time-

barred claims “so long as there are sufficient indications on the record that the district

court weighed the impact that a dismissal or extension would have on the parties.”

Zapata, 502 F.3d at 197. Those requirements are satisfied here. Appellant did not

argue, nor could she, that she had “good cause” for failing to properly serve AUA.

(Supra, 21-24.) The District Court specifically acknowledged that dismissal of the

FAC against AUA for failure to serve AUA might preclude Appellant from re-filing

claims against AUA because of the statute of limitations (App-23 n.5), but weighed

that against Appellant’s lack of diligence, in concluding that AUA’s motion to

dismiss for failure to serve should be granted. (App-23.) Moreover, as this Court

has held, “no weighing of the prejudices between the two parties can ignore that the

situation is the result of the plaintiff’s neglect,” Zapata, 502 F.3d at 198, which was

the case here. See Almonte v. Suffolk Cty., 531 F. App’x 107, 109–10 (2d Cir. 2013)

(summary order) (no abuse of discretion where district court dismissed Section 1983

claim even though appellant would be time-barred from refiling it where failure to

serve was allegedly based on process server’s mistake); Harmon v. Bogart, 788 F.

App’x 808, 810 (2d Cir. 2019) (summary order) (same for disability and age



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discrimination claims, where failure to serve was based on appellant’s attorney’s

mistake).

              Third, none of Appellant’s belated excuses for failure to properly serve

AUA constitutes a “colorable excuse for neglect,” much less “good cause” for failing

to serve AUA. Appellant argues that the District Court’s November 18, 2019 order,

which sua sponte granted her leave to amend the Complaint to cure any deficiencies

identified in Appellees’ then-to-be-filed motion to dismiss, did not provide her

proper warning that her service was deficient or that she would need to do anything

about it. (App. Br. at 28.) However, Appellant cannot reasonably argue that the

order somehow misled her to believe that improper service on a defendant was

sufficient because the order said nothing about service of process. (SA-3–4.)

              Appellant also argues that in response to Appellees’ Second MTD, she

produced an affidavit from the process server and photographs that the process

server had taken, allegedly to show he had served AUA at One Battery Park Plaza

in New York. (App. Br. 28-29.) However, Appellant’s insistence that AUA has

New York offices, in the face of sworn declarations and verifiable evidence

produced by AUA as early as December 9, 2019, is not a justifiable excuse for failing

to properly serve AUA. Rather, it was a strategic choice by Appellant to insist her

service on AUA was sufficient, and ignore AUA’s well-supported position to the

contrary.



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             For similar reasons, Appellant’s dismissive argument that she “was of

the belief that she has effected valid service” (App. Br. at 29), is not a justifiable

excuse for choosing to ignore AUA’s evidence to the contrary. A plaintiff’s alleged

mistake does not constitute a justifiable excuse for failure to effect proper service—

even more so here where Appellant was on clear notice of the mistake. See, e.g.,

Cassano v. Altshuler, 186 F. Supp. 3d 318, 322-24 (S.D.N.Y. 2016) (that pro se

plaintiffs were not aware of, or did not understand the appropriate methods for

service, did not constitute good cause; nor were they entitled to a discretionary

extension of time to cure service where they had “been on notice for a substantial

period of time that their method of service could be defective and that their claims

could be dismissed on that basis”); Felix v. City of Poughkeepsie, 2019 WL 5306981,

at *7 n.4 (S.D.N.Y. Oct. 18, 2019) (“ignorance and confusion, even in the case of a

pro se plaintiff [regarding the appropriate method by which to effectuate service],

do not excuse the failure to properly serve defendants”).

             Appellant also contends that the District Court issued its Opinion in

October 2020, when COVID was present in New York. This argument makes no

sense. The extent of COVID in New York would not impact Appellant’s ability to

effect service on AUA in Antigua. More importantly, the date of the District Court’s

Opinion is irrelevant. A court assesses the reasonableness of a plaintiff’s due

diligence in effecting proper service from when plaintiff was on notice of a possible



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defect, not from when there is a final court determination of that issue. As this Court

explained in Kurzberg v. Ashcroft, 619 F.3d 176, 185 (2d Cir. 2010), “if we were to

accept the plaintiffs’ proposed requirement of an ‘official determination’ by the

court that service of process was defective before the cure provision was triggered,

this would effectively require that a motion to dismiss for failure to serve process be

granted only after such a motion had already been made once and denied for the

purpose of affording the plaintiff a reasonable time to cure.” Rather, the Court held,

there is nothing “wrong with requiring plaintiffs to adhere to a rule of procedure

when their failure to do so has been correctly pointed out by an adversary.” Id. That

is exactly what happened here. AUA put Appellant on clear notice of defective

service in its First MTD. But, Appellant did nothing to cure that defect. Thus,

Appellant’s belated argument that the District Court abused its discretion in

dismissing the FAC as to AUA without giving time to cure service is not only

waived, but also without merit.

      D.       Appellant’s Waived Argument that MEA Had “Actual” or
               “Apparent” Authority to Accept Service for AUA Is Meritless.

               Appellant improperly argues that AUA ought to be estopped from

disclaiming service because MEA had “actual” or “apparent” authority to accept

service for AUA. Appellant did not preserve this argument for appeal. It also is

meritless.




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                   1.    Appellant Did Not Preserve the “Actual” and
                         “Apparent” Authority Arguments for Appeal

             Appellant did not argue to the District Court that service on AUA,

through MEA, was proper because MEA had actual or apparent authority to accept

service for AUA. There is no mention of “actual” or “apparent” authority in

Appellant’s briefing below. (SA-161–93.) Tellingly, Appellant does not even argue

that the District Court erred in finding that MEA did not have “actual” or “apparent”

authority to accept service for AUA. (App. Br. at 9, 25, 30.) The District Court, of

course, cannot consider an argument Appellant did not present to it. Moreover,

Appellant’s generalized and conclusory assertions—with no elaboration or legal

authority—that “[a]s the agent of AUA, MEA was authorized to accept service on

its behalf, especially where as here both entities held themselves out as principal-

agent,” did not sufficiently preserve her new arguments for appeal. See Hapag-

Lloyd Aktiengesellschaft v. U.S. Oil Trading LLC, 814 F.3d 146, 155 (2d Cir. 2016)

(appellant did not sufficiently preserve its challenge to personal jurisdiction because

“we have long held” that “cursory,” one-sentence statements before the district court

are “generally insufficient to preserve an issue for appeal”); In re Nortel Networks

Corp. Sec. Litig., 539 F.3d 129, 132–33 (2d Cir. 2008) (argument on appeal that

there is a presumption of reasonableness for fees agreed upon by the lead plaintiff

was not preserved simply because a “resembling” argument was made below that a

lead plaintiff’s view of the reasonableness of the fee be given great deference).


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Likewise, Appellant’s scant references to an “agency relationship,” with no further

development of that argument, could hardly put AUA or the District Court on notice

of her “actual” and “apparent” authority arguments. Notably, the burden is on a

plaintiff to prove such authority. See Santos v. State Farm Fire & Cas. Co., 902

F.2d 1092, 1094 (2d Cir. 1990); Zen Music, Inc. v. CVS Corp., 1998 WL 912102, at

*3 (S.D.N.Y. Dec. 30, 1998).

             Nor should this Court exercise its discretion to reach the merits of

Appellant’s new arguments. First, Appellant could have properly raised each of

these arguments below, but did not; nor has she provided any reason for that failure.

Second, nothing in the record shows that the Court’s refusal to address an

unpreserved argument on appeal will result in any manifest injustice. Three, the

existence and scope of actual and apparent authority involves questions of fact, see

Garanti Finansal Kiralama A.S. v. Aqua Marine & Trading Inc., 697 F.3d 59, 71

(2d Cir. 2012), and would require this Court to make factual findings regarding, e.g.,

whether the process server reasonably relied on MEA’s or Ms. O’Brien’s alleged

apparent authority to accept service for AUA. All of these reasons militate against

the Court exercising its discretion to resolve new arguments on appeal. (See also

supra, 18-20.)

                   2.    Appellant’s “Actual” Authority Argument Is Meritless

             Even if the Court addresses Appellant’s belated argument that MEA



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had actual authority to accept service of process on behalf of AUA, the argument

lacks any merit.

             Actual authority, whether express or implied, “is the power of the agent

to do an act or to conduct a transaction on account of the principal which, with

respect to the principal, he is privileged to do because of the principal’s

manifestations to him.” Minskoff v. Am. Express Travel Related Servs., 98 F.3d 703,

708 (2d Cir. 1996) (quoting Restatement (Second) of Agency § 7 cmt. a (1958)).

Whether there is actual agency “depends on the actual interaction between the

putative principal and agent, not on any perception a third party may have of the

relationship.” Itel Containers Int’l Corp. v. Atlanttrafik Exp. Serv., 909 F.2d 698,

702 (2d Cir. 1990).

             First, there is no evidence that AUA granted actual authority to MEA

to accept service of process for AUA. Indeed, both AUA and MEA submitted sworn

declarations to the District Court that MEA does not have such authority. (See supra,

9-10.)2

             Second, Appellant’s alleged “evidence” of actual authority—“hundreds



2. Indeed, New York and federal law contain strict requirements for the
   appointment of an agent to accept service of process. See, e.g., N.Y. CPLR § 308
   (requiring written or other contractual designation or a power of attorney);
   Perrotta v. Irizarry, 430 F. Supp. 1274, 1276 (S.D.N.Y.), aff’d, 573 F.2d 1294
   (2d Cir. 1977) (requiring actual appointment). Appellant has not pointed to any
   evidence of such designation or appointment.

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of emails” from AUA to Appellant that list MEA as agents of AUA; the logo outside

MEA’s office; MEA’s correspondence to Appellant in which it apparently notified

Appellant that it was acting as agent for AUA; and Ms. O’Brien’s alleged failure to

tell the process server that she was not accepting service for AUA—is simply not

relevant to whether AUA granted actual authority to MEA to accept process for

AUA. That is because whether AUA granted MEA actual authority turns on the

interaction between AUA and MEA, not on what Appellant perceived. Itel, 909 F.2d

at 702 (activities of purported principal that “might perhaps have been thought by

others to establish an agency relationship” could not give agent actual authority).

             Third, Appellant’s arguments on actual and apparent authority

mischaracterize the law of agency. Even if MEA were AUA’s agent for certain

functions (e.g., to interact with students for administrative purposes), that does not

mean MEA also had authority to accept service of process for AUA. See Sikhs for

Just. v. Nath, 893 F. Supp. 2d 598, 610 (S.D.N.Y. 2012) (“[T]he mere appointment

of an agent, even with broad authority, is not enough; it must be shown that the agent

had specific authority, express or implied, for the receipt of service of process.”)

(quoting 2 Moore’s Federal Practice ¶ 4.10 [4], at 4-174-75) (emphasis added); 1

Moore’s Federal Practice ¶ 4.93 (“An agency relationship between parties for one

purpose does not automatically extend to the agency relationship for the purpose of

service of process.”); see also Medal Knitwear v. Ji Hoon Jung, 2011 WL 6825374,



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at *1–2 (S.D.N.Y. Dec. 28, 2011) (although plaintiff argued that “JYP has held itself

out as Jung’s ‘agent’ throughout the events underlying the complaint,” and even

assuming JYP acted as Jung’s agent for his entertainment career, that did not satisfy

the requirements of actual and apparent authority for accepting service of process).

             Fourth, contrary to Appellant’s contention, AUA was not required to

communicate to Appellant the limitations of MEA’s actual agency. Under New

York law, “‘[o]ne who deals with an agent does so at his peril, and must make the

necessary effort to discover the actual scope of authority.’” Itel, 909 F.2d at 703

(quoting Ford v. Unity Hospital, 32 N.Y.2d 464, 472 (1973)). Appellant also

speculates that the catch-all provision in the Services Agreement (“such other

services [that] AUA and MEA may agree from time to time”) may cover accepting

process (App. Br. at 34). This argument is purely speculative, and belied by AUA

and MEA’s sworn declarations that MEA had no such authority.3 Thus, Appellant’s

belated “actual” authority argument is meritless.




3. Appellant incorrectly states that AUA relied on the Services Agreement as
   “dispositive of the service issue.” (App. Br. at 35.) AUA did not. (SA-131–33,
   205–07 (AUA’s improper service arguments; no mention of the agreement).) In
   any event, the Services Agreement simply highlights that AUA did not grant
   MEA the authority to accept process for AUA. (See App-80–82 (listing MEA’s
   contracted services to AUA; no mention of accepting process).)

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                   3.     Appellant’s “Apparent” Authority Argument Is
                          Meritless

             Apparent authority arises from the “written or spoken words or any

other conduct of the principal which, reasonably interpreted, causes [a] third person

to believe that the principal consents to have [an] act done on his behalf by the person

purporting to act for him.” Minskoff, 98 F.3d at 708 (quoting Restatement (Second)

of Agency § 27) (internal quotation marks omitted). Apparent authority requires

proof that (1) the principal was responsible for the appearance of authority in the

agent to conduct the transaction in question, and (2) the third party reasonably relied

on the appearance of authority in the agent. Fletcher v. Atex, Inc., 68 F.3d 1451,

1462 (2d Cir. 1995) (citing Greene v. Hellman, 412 N.E.2d 1301, 1306 (N.Y. 1980)).

             In the context of assessing apparent authority for effecting proper

service, the question is whether the process server reasonably relied on the

principal’s words or conduct to serve the purported agent. See, e.g., Labarbera v.

Giacomelli Tile, Inc., 2009 WL 1269741, at *1 (E.D.N.Y. May 6, 2009) (“courts

in the Second Circuit and in New York have held that a corporation is sufficiently

served where an employee of the corporation with apparent authority to accept

service did so, so long as the process server diligently attempted to comply with the

rules of service …”) (emphasis added); Prestige Cap. Corp. v. Fuber LLC, 2017 WL

2558803, at *3 (S.D.N.Y. June 5, 2017) (denying default judgment because, while

“service may be sustained where the employee has apparent authority to accept


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service …, it is not clear that [the employee] conveyed [that authority] to the process

server”) (emphasis added); Martinez v. Church of St. Gregory, 261 A.D.2d 179, 180

(1st Dep’t 1999) (affirming failure to serve where employee did not tell server he

was authorized to accept service for defendant; “[n]or does it appear why the process

server should have otherwise supposed that the receptionist was authorized to accept

service of process”) (emphasis added). It also is a plaintiff’s burden to show “it was

reasonable for the process server to infer that the recipient of process was authorized

to accept service of process.” Zen Music, 1998 WL 912102, at *3. Notably, neither

of the cases Appellant cites for this argument have anything to do with service of

process or a process server’s reasonable reliance.

             Here, Appellant’s defective service of process on AUA does not meet

the two requirements of apparent authority. First, the process server could not have

reasonably relied on the logo outside MEA’s office (reading MEA “Agents for”

AUA) as evidence that he was effecting service on AUA. “If anything,” the logo,

as the District Court properly found, “support[ed] the conclusion that the location

was MEA’s office, not AUA’s.” (App-21–22.) A district court’s factual findings

are reviewed under the “clear error” standard. Zervos v. Verizon New York, Inc., 252

F.3d 163, 168 (2d Cir. 2001). Appellant has not argued on appeal, nor can she, that

there is any “clear error” in the District Court’s finding that the logo showed this

was MEA’s office, not AUA’s.            Thus contrary to Appellant’s contention,



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Appellant’s process server was not reasonably relieved of his duty of diligence in

ensuring he was serving the right party. See Herbert Constr. Co. v. Continental Ins.

Co., 931 F.2d 989 (2d Cir. 1991) (duty of inquiry “amounts to an alternative way of

asking” whether reliance on the existence of apparent authority was reasonable); see

also Zen Music, 1998 WL 912102, at *3-4 (no proper service on CVS Corp. where

process server left papers with a manager of a CVS store, run by CVS Corp.’s

subsidiary, and there was no evidence the manager was authorized to accept such

service or represented as such to the server).

             Second, both the logo outside MEA’s offices and any alleged actions or

inactions of MEA’s employees on which the process server allegedly relied were

words and actions of MEA, not AUA. However, words and actions of the agent,

rather than the principal, do not create apparent authority. See Fletcher, 68 F.3d at

1462 (affirming no “apparent authority” because use of principal’s logo was the act

of the purported agent, not the principal).

             Appellant argues that during her dealings with AUA, AUA “listed”

MEA on all their correspondence and never told her that MEA was not their agent.

(App. Br. at 36.) First, that is not true. (See, e.g., App-60 (AUA’s dismissal letter).)

Second, AUA’s representations to the Appellant cannot cure the process server’s

defective service. Here, Appellant filed a Proof of Service and declaration from her

process server, as well as photographs that he allegedly took. None of that shows



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that the process server relied in any way on the alleged representations made by

AUA to the Appellant or an instruction by Appellant that it was sufficient to serve

MEA for AUA based on her own purported reliance on AUA’s representations. See

Chow v. Kenteh Enters., 169 A.D.2d 572, 572-73 (1st Dep’t 1991) (distinguishing

cases where process server allegedly relies on “conduct, procedure or

representation[s]” made by the person he serves from case where he relied on the

instruction to simply serve process on a particular person). Rather, Appellant’s

evidence regarding her process server includes only the process server’s conclusory

statement that “[o]n October 8, 2019, [he] entered the building where American

University of Antigua/MEA was located,” and suggests that he relied on the logo

outside MEA’s offices (which should have alerted him that he was entering MEA’s,

not AUA’s office), told the receptionist in MEA’s offices he had “legal documents

for American University of Antigua/MEA,” and when Ms. O’Brien came out to the

desk, he handed her the papers. (App-64–67.) Thus, AUA’s representations to the

Appellant are simply not relevant to the inquiry here.4 In short, Appellant’s belated



4. Even if AUA’s representations to Appellant were relevant, they do not suffice to
   create an inference of “apparent authority” for accepting process. That AUA
   listed MEA as an agent or representative on some of its correspondence to
   Appellant, does not support a reasonable inference that MEA also was authorized
   to accept service of process for AUA. Appellant has pointed to nothing to show
   “apparent” authority in MEA to legally bind AUA, certainly not this broadly. See
   Medal Knitwear, 2011 WL 6825374, at *1–2 (although plaintiff argued that “JYP


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“apparent” authority argument is also without merit.

                For the reasons set forth in this Section I, this Court should affirm the

District Court’s dismissal of AUA for Appellant’s failure to properly serve process

on AUA.

II.      THE COURT ALSO CAN AFFIRM THE DISTRICT COURT’S
         DISMISSAL OF AUA ON ALTERNATE GROUNDS

                While this Court has sufficient grounds to affirm the dismissal of the

FAC as to AUA on the same grounds as the District Court, it also can affirm that

dismissal on the additional and alternate grounds of lack of personal jurisdiction,

forum non conveniens, and with regard to at least the ADA-claim, lack of the

application of the ADA to the CCSE.

         A.     The District Court Lacked Personal Jurisdiction Over AUA.

                On a Rule 12(b)(2) motion to dismiss for lack of personal jurisdiction,

the “plaintiff bears the burden of establishing that the court has jurisdiction over the

defendant.” DiStefano v. Carozzi N. Am., Inc., 286 F.3d 81, 84 (2d Cir. 2001)

(citation omitted). The plaintiff must make “a prima facie showing by its pleadings

and affidavits that jurisdiction exists.’” Brown v. Showtime Networks, 394 F. Supp.

3d 418, 429 (S.D.N.Y. 2019) (citations omitted). A prima facie showing requires




      has held itself out as Jung’s ‘agent’,” that did not create apparent authority for
      accepting service of process).

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averment of non-conclusory facts, which “if credited, would suffice to establish

jurisdiction over the defendant.” S. New Eng. Tel. Co. v. Global NAPs Inc., 624 F.3d

123, 138 (2d Cir. 2010) (citation omitted). On a Rule 12(b)(2) motion, the court

may consider evidence outside the pleadings. See Sandoval v. Abaco Club on

Winding Bay, 507 F. Supp. 2d 312, 315 (S.D.N.Y. 2007).

             A court may exercise personal jurisdiction over a defendant only where:

(1) the defendant is subject to general or specific jurisdiction under the law of the

forum state; and (2) the exercise of personal jurisdiction comports with

constitutional due process. Sonera Holding B.V. v. Cukurova Holding A.S., 750 F.3d

221, 224 (2d Cir. 2014). Here, Appellant has failed to make a prima facie showing

of either requirement.

                  1.     The District Court Lacked General Jurisdiction Over
                         AUA

             A corporation is subject to general jurisdiction, consistent with

constitutional due process, only (1) in its place of incorporation, (2) its principal

place of business, or (3) in the very narrow “exceptional case,” where the

corporation’s contacts with another forum are “so substantial . . . as to render the

corporation at home in that State.” Daimler AG v. Bauman, 571 U.S. 117, 139 n.19

(2014). Here, the District Court did not have general jurisdiction over AUA because

AUA’s place of incorporation and principal place of business is Antigua (FAC ¶ 12;

SA-147 (Solomon Decl.) ¶ 3), and the FAC contains no allegations remotely


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supporting an inference that this is an “exceptional case” where general jurisdiction

may nonetheless be exercised over AUA. See Perkins v. Benguet Consolidated

Mining Co., 342 U.S. 437, 447–48 (1952) (only Supreme Court case recognizing “at

home” jurisdiction, where a foreign company’s principal place of business was

determined to be Ohio because its headquarters and operations had temporarily

moved there from the Philippines due to wartime Japanese occupation). The FAC

does not allege that AUA has abandoned and moved its Antigua-offices to New

York. Nor can it.

             Appellant has contended that AUA “regularly transact[s] business in

New York State,” (FAC ¶ 29), and also that the District Court should exercise

general jurisdiction over AUA because “AUA has engaged in ‘purposeful availment’

of the benefits and privileges of New York Law,” and “its affiliations with the State

are so continuous and systematic as to render them at home.” (SA-185–86.)

However, “conclusory allegations are not enough to establish personal jurisdiction.”

Megan v. Biocamp Laboratories, 166 F. Supp. 3d 493, 496 (S.D.N.Y. 2016). Nor

do these statements, even if true, confer exceptional jurisdiction over AUA. See

Daimler, 517 U.S. at 137-38 (“[S]ubstantial, continuous, and systematic course of

business,” alone, is insufficient to render a corporation “at home” in a state.); SPV

Osus Ltd. v. Unicredit Bank Austria, 2019 WL 1438163, at *3, *6 (S.D.N.Y. Mar.

30, 2019) (no general jurisdiction where plaintiff alleged that foreign defendants



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“and/or their agents regularly transacted business in New York”).

              The FAC also alleges, without support, that the District Court has

jurisdiction over AUA because AUA “has a principal United States office in New

York City.” (FAC ¶ 25; see also id. ¶¶ 1, 30.) This is insufficient to confer general

jurisdiction over AUA. One, Appellant’s assertion that AUA has a New York office

is both conclusory and demonstrably false. (See supra, 6-7, 9-10.) Two, even if

true, Second Circuit courts have found no general jurisdiction where a defendant had

an office in New York (which, as here, was not defendant’s principal place of

business) and significantly more connections with New York than those alleged

here. See, e.g., Gucci America, Inc. v. Weixing Li, 768 F.3d 122, 135 (2d Cir. 2014)

(no general jurisdiction over foreign bank that had four branch offices in New York);

In re Sargeant, 278 F. Supp. 3d 814, 821 (S.D.N.Y. 2017) (that a foreign entity had

one of its “primary business offices” in New York did not warrant exercising general

jurisdiction over it).

              Appellant also contended below, with no legal authority, that a forum

selection clause (designating New York as the dispute-resolution forum) in the

Services Agreement confers general jurisdiction over AUA.           (SA-187.)   But,

Appellant is not a party to that agreement and cannot enforce the forum selection

clause.




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                   2.    The District Court Lacked Specific Jurisdiction Over
                         AUA

             Nor did the District Court have specific jurisdiction over AUA.

Specific jurisdiction is claim-specific. See Goodyear Dunlop Tires Ops. v. Brown,

564 U.S. 915, 919 (2011). The court could exercise specific jurisdiction over AUA

for a particular claim only if doing so complies with (1) New York’s long-arm statute

and (2) constitutional due process. See Brown, 394 F. Supp. 3d at 434.

             Appellant relies below on CPLR 302(a)(1) for purported long-arm

jurisdiction over AUA. (SA-185.) For such jurisdiction to exist, (1) the defendant,

directly or through an agent, must transact business within the state, and (2)

plaintiff’s claim must “arise from” that transaction. CPLR § 302(a)(1). The “arise

from” standard requires that the plaintiff show there was an “articulable nexus” and

“substantial relationship” between the transaction and the claim. See Hill v. HSBC

Bank plc, 207 F. Supp. 3d 333, 339–40 (S.D.N.Y. 2016).5




5. Citing Licci v. Lebanese Canadian Bank, SAL, 732 F.3d 161, 168-69 (2d Cir.
   2013), Appellant argued below that the “arise from” language requires only a
   “relatedness between the transaction and the legal claim.” (SA-185). However,
   Licci does not sanction any kind of link. The “relatedness” must still be “an
   articulable nexus” or “substantial relationship,” and not “merely coincidental.”
   Licci, 732 F.3d at 164; Licci v. Lebanese Canadian Bank, 20 N.Y.3d 327, 340
   (2012) (on certification to the New York Court of Appeals). Licci involved
   defendant’s repeated use of a New York bank account to transfer funds in support
   of the very terrorist activity that was the actionable conduct in the case. 732 F.3d
   at 168-69.

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             To comport with constitutional due process “the defendant’s suit-

related conduct must create a substantial connection with the forum.” Walden v.

Fiore, 571 U.S. 277, 284 (2014). This requires that the suit “arise out of or relate to

the defendant’s contacts with the forum.” Bristol-Myers Squibb Co. v. Superior Ct.

of Cal., 137 S. Ct. 1773, 1780 (2017). The “arise out of” prong requires “either

proximate or but-for causation” between the contacts and the suit-related conduct.

SPV Osus, 2019 WL 1438163, at *6 (citing SPV Osus Ltd. v. UBS AG, 882 F.3d 333

(2d Cir. 2018)). The “relate to” prong, which “incorporates real limits,” requires a

“strong ‘relationship among the defendant, the forum, and the litigation.’” Ford

Motor Co. v. Montana Eighth Jud. Dist. Ct., 141 S. Ct. 1017, 1026-27 (2021)

(quoting Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 414

(1984)).

             Here, Appellant’s claims do not “arise from” any of AUA’s alleged

connections to New York; nor do they have a “substantial connection” with those

alleged connections.      Appellant’s claims, therefore, fail both the long-arm

jurisdiction and constitutional due process tests for specific jurisdiction.

             Appellant’s claims are based on the core allegations that AUA did not

provide her “reasonable accommodations” for the CCSE, and AUA improperly

dismissed her from the M.D. program. None of the decisions or conduct underlying

those claims occurred in New York. Dr. Rice, based in Antigua, decided whether



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and what accommodations to provide Appellant for the CCSE; Dr. Valtschanoff,

AUA’s Chief Proctor in Antigua, attempted to arrange a 2-day CCSE examination

for Appellant and ultimately informed her that she would need to take the exam over

one day; Appellant sat the CCSE, five times, in Virginia; the decision to dismiss

Appellant for failure to meet academic requirements was made in Antigua; and

Appellant suffered the alleged consequences of that decision in Washington, D.C.

where she resides. (See supra, 7-9.) Thus, none of Appellant’s claims arises from

any alleged AUA (or MEA) transaction in New York; nor are they caused by or

strongly related to any alleged occurrences there.6

             Appellant’s laundry list of AUA’s purported New York-connections

either were incidental to the decisions regarding whether and what accommodations




6. In Ford Motor Co., the Supreme Court recently affirmed “related to” specific
   jurisdiction over an out-of-state defendant, Ford Motors, for plaintiffs’ products
   liability claims where the accidents involving the Ford vehicles and leading to
   the claims occurred in the forum states, and plaintiffs were residents of, and
   suffered injuries in, those states. 141 S. Ct. at 1031. On the other hand, in Bristol-
   Myers Squibb, the Supreme Court reversed a finding of specific jurisdiction
   where, although Bristol Myers marketed the drug-at-issue in California and had
   research sites there, plaintiffs were not California residents, were not prescribed
   the drug in California and did not suffer their injuries there. Ford Motor Co., 141
   S. Ct. at 1031 (distinguishing Bristol Myers). With regard to the “related to”
   prong, this case is more like Bristol Myers than Ford Motor Co. Here, even if
   Appellant is correct that AUA had certain connections with New York, Appellant
   is not a resident of New York, the decisions of accommodation and dismissal
   were not taken in New York, and Appellant did not suffer her alleged injuries in
   New York.

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to provide Appellant for the CCSE and to dismiss her, or, by and large, entirely

unrelated to Appellant’s claims. Neither can confer specific jurisdiction.

             Appellant alleges she had extensive communications with “AUA’s

personnel in New York City” regarding the CCSE and the setting-up of the

accommodations for the exam; that “AUA from its NYC office” “made the

accommodation arrangements with NBME, paid the fees, and prescribed the nature

of the accommodation;” and Kristal Booth, an MEA employee, informed Appellant

by email that Appellant had been dismissed from AUA and that Appellant would be

receiving a formal letter of dismissal from AUA’s Promotions Committee, and thus

the “initial decision to terminate Plaintiff from AUA came from or through AUA’s

New York office.” (FAC ¶¶ 16, 30; SA-171, SA-185.) Even if assumed to be true,

the administrative actions described by Appellant are “merely coincidental” to the

decision of what accommodations to provide Appellant—which per her own

complaint and papers below, had to be made by Dr. Rice, based in Antigua—and

whether to dismiss Appellant. (See supra, 8-9.) An MEA employee’s administrative

actions in arranging an accommodation which was considered and granted by

AUA’s Dr. Rice in Antigua, or communicating a dismissal decision made by AUA’s

Promotions Committee in Antigua, did not give rise to, nor are “strongly” related to

Appellant’s alleged injuries. See Walden, 571 U.S. at 284 (“For a State to exercise

jurisdiction consistent with due process, the defendant’s suit-related conduct must



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create a substantial connection with the forum State.”). Moreover, administrative

email and telephonic communications to and from New York that are incidental to

the conduct underlying the claims cannot confer specific jurisdiction. See, e.g.,

Barrett v. Tema Dev. (1988), Inc., 251 F. App’x 698, 700 (2d Cir. 2007) (summary

order) (no specific jurisdiction over breach-of-contract claim where contract was

negotiated, executed and breached outside of New York, although plaintiff

communicated from New York with defendant’s employees, and met one of them in

New York regarding the contract); Scott v. ProClaim America, Inc., 2015 WL

3851243, at *4 (E.D.N.Y. June 22, 2015) (communications to and from New York

regarding plaintiff’s doctors’ visits and informing him of his termination did not

confer specific jurisdiction over plaintiff’s disability discrimination claim where the

employer was located, and made the termination decision, in Texas); id.

(distinguishing case where the termination decision was made in New York).

             The FAC also alleges that Appellant had “extensive” communications

with Dr. Bell, AUA’s Executive Dean of Clinical Services, whose emails include

MEA’s New York address in his signature block. (FAC ¶ 13.) Even accepting as

true that Dr. Bell had these communications while in New York, Appellant’s only

alleged communications with him involve Dr. Bell directing Appellant to work with

Dr. Rice, who is based in Antigua, regarding her request for accommodations, and

extending her graduation deadline. (Id. ¶¶ 51, 58.) Neither communication gave



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rise to Appellant’s claims, nor created a substantial connection between Appellant’s

claims and New York.

            Appellant’s laundry list of other alleged New York connections—e.g.,

that the “decision to admit Plaintiff to the medical school came from AUA’s New

York’s administrative office;” Appellant attended an AUA-sponsored orientation in

New York City; she completed her first clinical coursework as an AUA student in

New York; Appellant paid her tuition to personnel in New York; Appellant

exchanged “hundreds of emails” with her clinical coordinators, who were in New

York; AUA is subject to the OCR’s jurisdiction—even if accepted as true, have

nothing to do with Appellant’s specific claims. (See FAC ¶¶ 13, 15, 30, 31).

Unrelated contacts with the forum state cannot create specific jurisdiction. See

Bristol-Myers Squibb, 137 S. Ct. at 1782.7

            Finally, the FAC incorrectly alleges that the District Court may exercise

jurisdiction over AUA because AUA “has a principal United States office in New

York City,” and also that “AUA and its agent/MEA … regularly transact business

in New York State.” (FAC ¶ 25, 29.) Even assuming that these allegations are true,



7. The FAC also alleges that because AUA is one of many educational and medical
   institutions in the global Manipal Group, it must be a “part of MEA.” (FAC ¶
   23.) That inference has no legal basis. The fact that AUA might be part of the
   global Manipal group does not mean that it is the same legal entity as another
   institution in that group.


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generalized contacts with the forum state cannot confer claim-specific jurisdiction.

See Bristol-Myers Squibb, 137 S. Ct. at 1781 (a defendant’s “general connections

with the forum are not enough” to confer specific jurisdiction).

             For the foregoing reasons, the District Court did not have specific

jurisdiction over Appellant’s claims, including those on appeal.8

                   3.    Appellant Did Not Provide Any Bases for
                         Jurisdictional Discovery

             Jurisdictional discovery is warranted only where the plaintiff makes a

“threshold showing” of jurisdiction. Daval Steel Prod., a Div. of Francosteel Corp.

v. M.V. Juraj Dalmatinac, 718 F. Supp. 159, 162 (S.D.N.Y. 1989). Appellant did

not do so here. Rather, Appellant argued below that she is entitled to jurisdictional

discovery to serve FOIA requests on the federal and state governments to obtain

applications for FAFSA loans and clinical clerkships, which might show that AUA

has “an office” in New York. (SA-183–84.) However, as noted above, whether

AUA has a New York office is not dispositive of the personal jurisdiction issue here.

Nor is a speculative and unidentified “nexus” to the state regarding federal loans and

accreditation sufficiently relevant to the claims to warrant claim-specific




8. The FAC also appears to rely on Rule 4(k)(1)(B) as grounds for asserting
   personal jurisdiction over AUA. However, “bulge jurisdiction” may be used to
   establish personal jurisdiction only over parties joined under Rules 14 or 19, not
   over an original defendant. See Fed. R. Civ. P. 4(k)(1)(B).

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jurisdiction. Moreover, jurisdictional discovery is not a tool for an “unfounded

fishing expedition.” See Togut v. Forever 21, Inc., 285 F. Supp. 3d 643, 648

(S.D.N.Y. 2018).

      B.     The Claims Against AUA Should Be Dismissed On Forum Non
             Conveniens Grounds.

             The Court can also affirm the District Court’s dismissal of the FAC as

to AUA on forum non conveniens grounds in favor of Antigua because this case does

not belong in a New York court. To determine whether to grant a Rule 12(b)(6)

motion to dismiss on these grounds, the court: (1) determines the degree of

deference properly accorded to plaintiff’s choice of forum; (2) considers whether the

alternative forum proposed is adequate to adjudicate the parties’ dispute; and (3)

balances the public and private interests implicated by the choice of forum. See

Norex Petroleum Ltd. v. Access Indus., Inc., 416 F.3d 146, 153 (2d Cir. 2005).

Applied here, this three-factor analysis decidedly favors dismissal of this case in

favor of Antigua.

                    1.   Appellant’s Choice of Forum Is Not Entitled to
                         Deference

             In determining the degree of deference afforded to plaintiff’s choice,

courts look at the plaintiff’s “bona fide” connections to the forum state, and other

factors of convenience, such as availability of evidence and witnesses. Pollux

Holding Ltd. v. Chase Manhattan Bank, 329 F.3d 64, 71 (2d Cir. 2003). Generally,



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“a plaintiff’s choice of forum is entitled to substantial deference.” Id. at 70. That is

not the case where, as here, a U.S. citizen brings suit in a district other than her home

district. Iragorri v. United Techs. Corp., 274 F.3d 65, 71-73 (2d Cir. 2001).

               Appellant and her claims do not have any “bona fide” connections to

New York. First, neither AUA, nor Appellant, are located there (FAC ¶¶ 11, 12),9

and the District Court has dismissed MEA—the only New York party—from the

case. Second, while Appellant alleges a laundry list of ministerial, administrative

and entirely unrelated conduct in New York, the key operative facts underlying

Appellant’s accommodation and dismissal claim did not occur there. (Supra, 7-9,

41-42.) The fact that Appellant’s clinicians may reside in D.C. and that Appellant

may designate a witness who works in NBME’s Philadelphia office (SA-186) does

not tip the balance in favor of New York. The primary witnesses—Dr. Rice,

regarding Appellant’s failure-to-accommodate claims and the Promotions and

Appeals committees, regarding the dismissal claim—are based in Antigua. (Supra,

8-9.) Accordingly, Appellant’s choice of forum should be given limited, if any

deference.     See Van Bourgondien-Langeveld v. Van Bourgondien, 2010 WL

5464890, at *4 (E.D.N.Y. Dec. 29, 2010) (“little deference” owed to the plaintiffs’



9. As demonstrated by NYDOS public records (SA-152), of which the Court can
   take judicial notice on a Rule 12(b)(6) motion, Simon v. Smith & Nephew, Inc.,
   990 F. Supp. 2d 395, 401 n.2 (S.D.N.Y. 2013), AUA does not have a New York
   office.

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choice of forum because plaintiffs did not live there, only one of the two defendants

lived there, “operative events” in the action took place in the Netherlands, and one

key witness was located there).

                   2.    Antigua Is an Adequate Alternative Forum

             An alternative forum is adequate if the defendants are amenable to

service of process there, and if it permits litigation of the disputed subject matter,

even if the legal relief available is not equally favorable. Capital Currency Exch.,

N.V. v. Nat’l Westminster Bank PLC, 155 F.3d 603, 609, 611 (2d Cir. 1998)

(omitting citation); Piper Aircraft Co. v. Reyno, 454 U.S. 235, 250, 254 n. 22 (1981).

Here, Antigua is an adequate alternative forum because AUA, the only proper

defendant in this dispute, is an Antiguan school, and, therefore, amenable to service

of process in Antigua, and Antigua’s Disabilities and Equal Opportunities Act of

2017 affords relief for discrimination based on a disability.10

                   3.    Public and Private Factors Favor Dismissal in Favor
                         of Antigua

             The balance of public and private factors also favors dismissal of this

case in favor of Antigua. As to the public factors, Antigua has a stronger local




10. See
   http://legalaffairs.gov.ag/pdf/bills/DISABILITIES_EQUAL_OPPORTUNITIE
   S_BILL_2017-PV.pdf.


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interest in the dispute since it relates to alleged discrimination by AUA, an Antiguan

medical school, against one of its students. New York, on the other hand, has no

local interest in the dispute since New York’s only connection to the case is MEA,

which provides certain administrative services to AUA and against which no claim

of specific misconduct has been made. See Gulf Oil Corp. v. Gilbert, 330 U.S. 501,

508-09 (1947) (“Jury duty is a burden that ought not to be imposed upon the

people of a community which has no relation to the litigation.”). Private factors,

such as the location of proof and key witnesses (supra, 47-48), also favor dismissal

in favor of Antigua.11

      C.     The CCSE Is Not Covered by the ADA.

             This Court also can affirm the District Court’s dismissal, at least of

Appellant’s ADA claim, as to AUA on the additional ground that the CCSE is not

an examination covered by the ADA. The ADA requires disability accommodation

by “[a]ny person that offers examinations or courses related to applications,

licensing, certification, or credentialing for secondary or postsecondary education,




11. Other New York courts also have dismissed cases by U.S.-based AUA students
   against AUA based on forum non conveniens grounds, including that AUA’s only
   “connection with New York was through [MEA], but [MEA]’s role was limited
   to administrative services.” See Garcia v. AUA, 156081/2012 (N.Y. Sup. Ct. Oct.
   22, 2013) (SA-159); Aina v. AUA, 161 A.D.3d 508, 508-09 (2d Dep’t 2018); Alla
   v. AUA, 965 N.Y.S.2d 469, 469 (1st Dep’t 2013); Patel v. AUA, 104 A.D.3d 568
   (1st Dep’t 2013).

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professional, or trade purposes.” 42 U.S.C. § 12189. According to Appellant’s own

allegations, the CCSE consists of “old exams” that medical schools, such as AUA,

use as practice exams to help their students prepare for the official USMLE Step 2

exam; the schools also use the CCSE score as part of students’ grades. (FAC ¶ 21;

App. Br. at 15-16.) Thus, the CCSE is not an exam or course related to “applications,

licensing, certification, or credentialing” for any education or trade, and accordingly,

is not covered by the ADA.

III.   THE DISTRICT COURT PROPERLY DISMISSED THE FAC
       AGAINST MEA FOR APPELLANT’S FAILURE TO STATE A
       CLAIM

       A.     Standard of Review

              This Court reviews a district court’s dismissal of a complaint pursuant

to Rule 12(b)(6) de novo. Although the Court “constru[es] the complaint liberally,

accepting all factual allegations in the complaint as true, and drawing all reasonable

inferences in the plaintiff’s favor,” Chambers v. Time Warner, Inc., 282 F.3d 147,

152 (2d Cir. 2002), the complaint must plead “enough facts to state a claim to relief

that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).

A claim has “facial plausibility when the plaintiff pleads factual content that allows

the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Although the

Court affords “special solicitude” to a pro se plaintiff’s complaint, the complaint



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must still “meet the plausibility standard.” Rudaj v. Treanor, 522 F. App’x 76, 77

(2d Cir. 2013) (summary order).

      B.     The District Court Properly Dismissed the FAC as to MEA.

             Despite having two bites of the apple, first the Complaint and then the

FAC, Appellant has not alleged any wrongdoing by MEA, only AUA. As the

District Court correctly noted, the FAC included almost exclusively jurisdictional

allegations against MEA. (App-27.)12 Appellant’s failure to allege any wrongdoing

by MEA is particularly remarkable because MEA identified this very deficiency in

its motion to dismiss the Complaint. (SA-31.) The FAC, filed over a month later,

still failed to allege any misconduct by MEA. Moreover, when MEA moved to

dismiss the FAC for failure to state a claim (SA-134–35), Appellant did not even

address the argument.    (SA-161–94.)     The District Court, therefore, correctly

dismissed Appellant’s claims against MEA. See Gitzis v. Chen, 2020 WL 1140422,

at *2 (E.D.N.Y. Mar. 9, 2020) (dismissing pro se plaintiff’s ADA complaint where

plaintiff had not alleged any wrongdoing by defendant, so the court was “unable to




12. The allegations in the FAC that specifically reference MEA do not specify any
    misconduct by MEA. (See, e.g., FAC ¶¶ 1, 9, 16, 18, 20, 23, 25, 29, 82, 88.)
    These allegations are either jurisdictional, e.g., FAC ¶ 16 (MEA has a New York
    address); make assertions that MEA is an “agent” or “representative” of AUA,
    e.g., FAC ¶ 23; or make conclusory statements that MEA is liable to Appellant,
    e.g., FAC ¶ 82. None of these allegations attributes any specific misconduct to
    MEA.

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‘draw the reasonable inference [that these defendants are] liable for’ any

misconduct”), appeal dismissed (Jan. 12, 2021); Patel, 104 A.D.3d at 569 (in an

action filed against AUA and MEA, dismissing the complaint against MEA because

MEA’s administrative services for AUA had nothing to do with the substance of the

action).

             On appeal, Appellant does not dispute that the FAC fails to allege any

wrongdoing by MEA. Rather, Appellant argues, for the first time, that the District

Court “plainly erred in prematurely dismissing MEA” because “AUA and MEA,

LLC may have been engaged in a ‘joint venture’ or ‘independent contractor’

relationship with respect to the operation of the medical school.” (App. Br. at 36-37

(emphasis added).) Appellant’s entirely speculative argument is waived. It also is

without merit.

      C.     Appellant Waived Her Joint Venture and Independent
             Contractor Arguments.

             Appellant never raised her “joint venture” and “independent

contractor” arguments below, and should not be able to raise them for the first time

on appeal. Nor should the Court exercise its discretion to reach the merits of these

arguments. First, these arguments implicate questions of fact (e.g., whether there

was a joint venture between AUA and MEA, and whether MEA allegedly was

making the decisions Appellant had thought AUA was making), and would require

the Court to make findings of fact. Second, Appellant had ample opportunity to raise


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each of these arguments below, and did not; nor has she provided any reason for that

failure. Appellant insists that Appellees did not file the Services Agreement until

after she had filed the FAC on January 14, 2020, and she, therefore, could not

incorporate the independent contractor allegations into the FAC. (App. Br. at 39,

41.) That is false. Appellees filed the Services Agreement on December 9, 2019

with their original motion to dismiss. (SA-52–57.) Third, nothing in the record

shows that the Court’s refusal to address an unpreserved argument on appeal will

result in any manifest injustice. All of these reasons militate against the Court’s

exercise of its discretion to review Appellant’s newly-minted arguments. (See

supra, 18-20.)

      D.     Appellant’s Joint Venture and Independent Contractor
             Arguments Have No Merit.

             Appellant concedes that a joint venture requires a sharing of profit and

loss between the entities. App. Br. at 37; see also Itel, 909 F.2d at 701. Indeed, a

“mutual promise” to share in the profits and losses is an “indispensable essential of

a contract of partnership or joint venture.” Dinaco, Inc. v. Time Warner, Inc., 346

F.3d 64, 67-68 (2d Cir. 2003) (quoting Steinbeck v. Gerosa, 151 N.E.2d 170 (N.Y.

1958)). Here, Appellant has not alleged, much less plausibly alleged, that there was

a profit-loss sharing agreement between AUA and MEA with regard to the medical

school. The FAC contains no such allegations. Rather, the Services Agreement,

which Appellant references, clearly shows that MEA was a service provider for


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AUA, and AUA paid it a service fee equal to MEA’s costs for providing the services

plus a percentage markup of that cost. (App-74–75 ¶¶ 1(a), 2(a).) In the absence of

a profit-and-loss-sharing arrangement between AUA and MEA, Appellant has not,

and cannot, plausibly allege the existence of a joint venture between AUA and MEA.

See Dinaco, 346 F.3d at 67-68 (affirming that royalty agreement did not form a joint

venture because there was no agreement to share profits and losses); Itel, 909 F.2d

at 701-02 (affirming no joint venture where there was no indication of an agreement

to share losses).

             Appellant also argues that the District Court should not have dismissed

the FAC as to MEA because this Court could find that MEA is an “independent

contractor” under the Services Agreement. (App. Br. at 38.) However, MEA’s

status as an independent contractor makes no difference whatsoever to its alleged

liability here. Indeed, it only emphasizes that MEA is a separate company from

AUA, and Appellant was required to allege MEA’s own wrongdoing, which she did

not. Appellant’s argument—that if MEA is an independent contractor, then it means

that all the decisions she thought AUA was making regarding her clerkships and

accommodation were in fact being made by MEA—makes no sense. Being an

independent contractor does not transform AUA’s conduct into MEA’s conduct.

Even now on appeal, Appellant has utterly failed to make a single non-conclusory

and non-speculative allegation of misconduct against MEA. Appellant’s sweeping



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assertion that MEA might have been making decisions she thought AUA was

making, has nothing to do with MEA being an independent contractor, and is entirely

speculative. Elias v. Rolling Stone LLC, 872 F.3d 97, 107 (2d Cir. 2017) (affirming

grant of motion to dismiss individual defamation claim because plaintiff’s

“speculative” allegations could not support “plausibility” of defendant’s liability).

Thus, even considering Appellant’s belated arguments, the Court should affirm the

District Court’s dismissal of Appellant’s claims as to MEA.

IV.   THE COURT ALSO CAN AFFIRM THE DISTRICT COURT’S
      DISMISSAL OF MEA ON ALTERNATE GROUNDS

             Although the Court has sufficient bases to affirm the dismissal of

Appellant’s claims as to MEA on the same grounds as the District Court, it can also

affirm on the additional, independent grounds that the Rehabilitation Act and ADA

do not apply to MEA here. The Rehabilitation Act applies only to entities that

receive U.S. federal funding. See 29 U.S.C. § 794(a) (covering “any program or

activity receiving Federal financial assistance”).    MEA does not receive such

funding, and the FAC does not allege otherwise. (See FAC ¶¶ 72-82.) As discussed

above (supra, 50-51), the CCSE is not covered by the ADA. Moreover, the FAC

cannot state an ADA-claim against MEA because MEA did not offer the CCSE—

AUA did. See 42 U.S.C. § 12189 (applying the ADA to “[a]ny person that offers”

certain examinations or courses).




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V.    THE DISTRICT COURT DID NOT ABUSE ITS DISCRETION IN
      DECLINING SUA SPONTE LEAVE TO REPLEAD

             This Court generally reviews a district court’s denial of leave to amend

for abuse of discretion, but it reviews determinations of futility de novo. Balintulo

v. Ford Motor Co., 796 F.3d 160, 164 (2d Cir. 2015). This Court has routinely found

no abuse of discretion where, as here, the district court declines to grant leave to

replead where plaintiff never sought such leave. See, e.g., Horoshko v. Citibank,

N.A., 373 F.3d 248, 249-50 (2d Cir. 2004) (per curiam) (affirming district court’s

dismissal, and noting that pro se plaintiff’s argument that “the District Court abused

its discretion in not permitting an amendment that was never requested” was

“frivolous”); Cybercreek Ent., LLC v. U.S. Underwriters Ins. Co., 696 F. App’x 554,

555 (2d Cir. 2017) (summary order) (appellant’s “failure [below] to request leave to

amend alone supports the District Court’s dismissal with prejudice”). Moreover, the

District Court properly found that leave to replead was not warranted here, where it

had already granted Appellant one opportunity to amend, and despite being on notice

of Appellees’ precise arguments in two motions to dismiss, Appellant had not

indicated that she “possesses any additional facts that could cure the defects in her

dismissed complaint.” (App-28–29.) Nor has Appellant done so on appeal. Rather,

Appellant has suggested in passing only that she could have amended her complaint

based on the Services Agreement. (App. Br. 40-41.) However, the two affirmative

arguments Appellant has offered based on that agreement cannot withstand a motion


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to dismiss:    Appellant’s argument that the catch-all provision in the Services

Agreement could be read to include accepting service of process is entirely

speculative; and Appellant’s argument that MEA was an independent contractor

makes no difference whatsoever to the viability of her claims. See Cybercreek, 696

F. App’x at 555-56 (affirming motion to dismiss where plaintiff had not explained

how it could amend the complaint to survive a motion to dismiss).

                                   CONCLUSION

              This Court should affirm in its entirety the decision of the District Court

granting Appellees’ motion to dismiss.


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                       CERTIFICATE OF COMPLIANCE

              (1) This brief complies with the requirements of Federal Rule of

Appellate Procedure 32(a)(7)(B)(i) and Local Rule 32.1(a)(4) because it contains

13,967 words, excluding the parts of the brief exempted by Federal Rule of Appellate

Procedure 32(f).

              (2) This brief complies with the typeface requirements of Federal Rule

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Appellate Procedure 32(a)(6) because it has been prepared in a proportionally spaced

typeface using Microsoft Word in Times New Roman 14-point font.


Dated:      New York, New York                HUGHES HUBBARD & REED LLP
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STATE OF NEW YORK              )                         AFFIDAVIT OF SERVICE
                               )           ss.:          BY OVERNIGHT FEDERAL
COUNTY OF NEW YORK             )                         EXPRESS NEXT DAY AIR


        I, Melissa Pickett, being duly sworn, depose and say that deponent is not a
party to the action, is over 18 years of age and resides at the address shown above or at

       On May 28, 2021

deponent served the within: Brief for Defendants-Appellees

       Upon:

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the address(es) designated by said attorney(s) for that purpose by depositing 2 true
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Air Federal Express Official Depository, under the exclusive custody and care of Federal
Express, within the State of New York.


Sworn to before me on May 28, 2021


/s/ Mariana Braylovskiy                              /s/ Melissa Pickett
        Mariana Braylovskiy                          Melissa Pickett
  Notary Public State of New York
          No. 01BR6004935
    Qualified in Richmond County                     Job # 303135
Commission Expires March 30, 2022
